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                                 TINITED STATES DISTRICT COURT

                                          DISTRICT OF OREGON

                                                     Portland


  ALEXANDREA CROMV/ELL,                                                                  CV. 3:17-cv-01419-YY

                                          Plaintiff,
                                                                    STIPULATED GENERAL
              v                                                     JUDGMENT OF DISMISSAL WITH
                                                                    PREJUDICE
  I-INIVERSITY CLUB, a domestic nonprofit
  corporation; JOSH WILCOX, an individual; &
  TOM PENN, an individual,

                                      Defendants.


              Based upon the Stipulated Motion     for General Judgment of l)ismissal with Prejudice of
  the Parties hereto and the signatures below,

              IT IS HEREBY ORDERED AND ADJUDGED that this action is dismissed with prejudice

  and without costs or fees to any party,

              DATED   this     day   of             2018.




                                                       Judge Youlee Yim You




    Page      I _ STIPULATED GENERAL JUDGMENT OF DISMISSAL V/ITH PREJUDICE

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                Case 3:17-cv-01419-YY   Document 30                Filed 08/21/18   Page 2 of 3




 IT IS SO STIPULATED:
   PLAINTIFF                                            BARRAN LIEBMAN LLP



   B                                                    By
        Alexandrea                                                  A.       , OSB No. 803974
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                                                              Attorneys for Defendants




    Page2 _ STIPULATED GENERAL JUDGMENT OF DISMISSAL WITH PREruDICE

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                 Case 3:17-cv-01419-YY     Document 30                 Filed 08/21/18   Page 3 of 3




                                     CERTIFICATE OF SERVICE

             I   hereby certify that on the   QIS! day of August, 2018, I               served the foregoing

  STIPULATED GENERAL JUDGMENT OF DISMISSAL WITH PREJUDICE on the
  following party atthe following address:

             Alexandrea Cromwell
             11885 SV/ 91't Ave. #35
             Portland, OR 97223
             Alicromwell9 5 @gmail. com
             Pro Se


  by the following indicated method(s) set forth below:

                     Electronic Filing Using the Court's ECF System

             ø       Email

                     First-class mail, postage prepaid

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